Case 2:11-cv-07296-SVW-MAN Document 52 Filed 06/14/12 Page 1 of 2 Page ID #:1347



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       SUMMIT ENTERTAINMENT, LLC
   7
   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
  10
  11   SUMMIT ENTERTAINMENT, LLC,                Case No. 2:11-cv-07296-SVW-MAN
       a Delaware limited liability company,
  12                                             ORDER RE: STIPULATION FOR
                       Plaintiff,                DISMISSAL WITH PREJUDICE
  13                                             BASED ON SETTLEMENT
              v.
  14
  15   TOM MARKSON, dba TM
       CONSULTING, and DOES 1-10,
  16   inclusive,                                          JS-6
  17                  Defendants.

  18   TOM MARKSON, dba TM
       CONSULTING,
  19
                       Counterclaimant,
  20
              v.
  21
  22   SUMMIT ENTERTAINMENT, LLC,
       a Delaware limited liability company,
  23
                       Counterdefendant,
  24
  25          FOR GOOD CAUSE, the Court approves the parties’ stipulation for
  26   dismissal of this case with prejudice based on settlement and HEREBY ORDERS
  27   that
  28          1.   All claims and counterclaims alleged in this entire action are dismissed
Case 2:11-cv-07296-SVW-MAN Document 52 Filed 06/14/12 Page 2 of 2 Page ID #:1348



   1   with prejudice;
   2         2.    The Court shall retain jurisdiction to enforce the settlement agreement
   3   entered between the parties; and
   4         3.    Each party shall bear its own attorneys’ fees and costs.
   5
   6         IT IS SO ORDERED.
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       Dated: June 14, 2012     _________________________________
  12                                      HONORABLE STEPHEN V. WILSON
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